Case No. 1:08-cv-01753-ZLW Document.2 filed 08/18/08 USDC Colorado pgiof5

FILED
IN THE UNITED STATES DISTRICT COURT UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO *R, COLORADO

AUG I § 2008
NO AV ..
Civil Action No. 0? Vio 0) I 7 5 3 C&S CREGORY C. LANGHAM

(The above civil action number must appear on all future papers CLERK
sent to the court in this action. Failure to include this number
may result in a delay in the consideration of your claims.)

TIMOTHY EDWARD HOLZ,
Plaintiff,
Vv.

UNITED STATES OF AMERICA,

HARLEY G. LAPPIN,

REBECCA TAMEZ,

MICHAEL NALLIE,

H. A. RIOS, JR.,

J. WILNER,

MS. BARKER, and

MR. VIGIL, Official and Individual Capacity Suit,

Defendants.

ORDER DIRECTING CLERK TO COMMENCE CIVIL ACTION AND
DIRECTING PLAINTIFF TO SHOW CAUSE

On August 6, 2008, Plaintiff Timothy Edward Holz submitted to the Court a pro
se Prisoner Complaint Pursuant to 42 U.S.C. § 1983 and a Prisoner's Motion, a
Prisoner Consent Form and Financial Certificate, and a Prisoner Complaint. The Clerk
of the Court will be directed to commence a civil action, and Plaintiff will be instructed to

show cause why the Complaint and action should net be denied pursuant to 28 U.S.C.

§ 1915(g).
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Mr. Holz is a prisoner. He seeks leave to proceed without prepayment of fees or

security therefor pursuant to 28 U.S.C. § 1915. In relevant part, § 1915 provides:

In no event shall a prisoner bring a civil action or

appeal a judgment in a civil action or proceeding under this
section if the prisoner has, on 3 or more prior occasions,
while incarcerated or detained in any facility, brought an
action or appeal in a court of the United States that was
dismissed on the grounds that it is frivolous, malicious, or
fails to state a claim upon which relief may be granted,
unless the prisoner is under imminent danger of serious
physical injury.

28 U.S.C. § 1915(g).

Mr. Holz, on three or more prior occasions, has brought an action in this Court
that was dismissed on the grounds that it is frivolous. See Holz v. Irvin, et al., No.
04-cv-00009-LJM-WTL (S. D. Ind. Dec. 9, 2004) (dismissed pursuant to 28 U.S.C.

§ 1915A and found to qualify as a strike under 28 U.S.C. § 1915(g)); Holz v. Terre
Haute Reg’! Hosp., No. 03-cv-00293-RLY-WGH (S. D. Ind. Dec. 9, 2003) (dismissed
pursuant to 28 U.S.C. § 1915A and found to qualify as a strike under 28 U.S.C.

§ 1915(g)); Holz v. Golish, et al., No. 04-cv-00054-LJM-WTL (S. D. Ind. Dec. 8, 2004)
(dismissed pursuant to 28 U.S.C. § 1915A and found to qualify as a strike under 28
U.S.C. § 1915(g)); Holz v. Olson, et al., No. 03-cv-00320-JDT-WTL (S. D. Ind. Dec. 7,
2004) (dismissed pursuant to 28 U.S.C. § 1915A and found to qualify as a strike under
28 U.S.C. § 1915(g)}; Holz v. Ramer, et al., No. 03-cv-00339-LJM-WTL (S. D. Ind. Apr.
28, 2004) (dismissed pursuant to 28 U.S.C. § 1915A and found to qualify as a strike
under 28 U.S.C. § 1915(g)), appeal dismissed, No. 04-2236 (7" Cir. Sept. 20, 2004)

(denied leave to proceed in forma pauperis and dismissed on appeal for failure to pay
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filing fee); Holz v. U.S.P. Guard, No. 03-cv-00289-RLY-WGH (S. D. Ind. Apr. 4, 2004)
(dismissed pursuant to 28 U.S.C. § 1915A and found to qualify as a strike under 28
U.S.C. § 1915(g)), appeal dismissed, No. 04-2088 (7" Cir. Dec. 10, 2004) (denied
leave to proceed in forma pauperis and dismissed on appeal for failure to pay filing fee);
Holz v. Olson, et al., No, 03-cv-00154-LJM-WTL (S. D. Ind. Aug. 13, 2003) (dismissed
pursuant to 28 U.S.C. § 1915A and found to qualify as a strike under 28 U.S.C.

§ 1915(g)).

In response to the question on Page Two of the Prisoner's Motion and Affidavit
form, as to whether Mr. Holz is in imminent danger of serious physical injury, Plaintiff
answers that, [a]s long as my name remains in the bop.gov inmate locator website
because of contract by gangs on my life and until | leave the FCC Coleman Complex
area,” he is in imminent danger. Because Plaintiff is incarcerated at the United States
Penitentiary in Coleman, Florida, claims of imminent danger of serious physical injury
more properly would be filed in the United States District Court for the Middle District of
Florida, Ocala Division, the federal district and division in which USP Coleman is
located. Therefore, Plaintiff will be ordered to show cause why he should not be denied
leave to proceed in forma pauperis because he is subject to the filing restrictions in 28
U.S.C. § 1915(g). Accordingly, it is

- ORDERED that Plaintiff show cause in writing within thirty days from the date
of this Order why he should not be denied leave to proceed in forma pauperis,

because he is subject to the filing restrictions in 28 U.S.C. § 1915(g). Itis
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FURTHER ORDERED that if Plaintiff fails to show cause within the time allowed
he will be denied leave to proceed in forma pauperis.

DATED at Denver, Colorado, this 4 day of ‘\ , 2008.

BY THE COURT:

CRAIG B- SHAFFER
United States Magistrate Judge

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

CERTIFICATE OF MAILING

Civil Action No. 08 ~ CV on (0) 1 7 5 3

Timothy Edward Holz
Reg. No. 15079-064
USP- Coleman

PO Box 1034
Coleman, FL 33531

| hereby certify that | have mailed a copy of the ORDER to the above-named
individuals on__&] / ok

GREGORY C. LANGHAM, CLERK

By:

| 4 Deputy Clerk
